                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:10-00243
                                                   )      JUDGE CAMPBELL
GERRY CAMPBELL                                     )
MARILYNN GREENE                                    )

                                           ORDER

         Pending before the Court is the Government’s Motion To Extend Supplemental Filings

Deadline (Docket No. 96). Through the Motion, the Government seeks to extend the

supplemental filings deadline by one day, to March 12, 2013. The Motion is GRANTED.

         It is so ORDERED.

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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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